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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

  FLORAL LOGISTICS OF MIAMI, INC.,
  a Florida Profit Corporation,                                        Case No.: 23-20073-CIV-
                                                                       ALTONAGA/Damian
                                               Plaintiff,
                    -against-

  NEW YORK GARDEN FLOWER WHOLESALE,
  INC., a New York Profit Corporation, and DHAN
  PAIH, an individual,

                                               Defendants.
  -----------------------------------------------------------------/

  Defendants’ Response to Plaintiff’s “Statement of Facts” and Defendants’ Additional Facts


                      I. Defendants’ Response to Plaintiff’s “Statement of Facts”

  1.       Undisputed.

  2.       Disputed. Plaintiff agreed to deliver the goods via air transportation from Columbia to

  Florida and then ground courier from Florida to NY. ECF No. 42, ¶ 8 of the Counterclaims.

  3.       Undisputed.

  4.       Undisputed.

  5.       Disputed. Only Defendant New York Garden Wholesale, Inc. (“NY Garden”) is in the

  business of purchasing and reselling business in the tri-state area. Defendant Paih is the president

  and owner of NY Garden. ECF No.42. ¶ 4 thru ¶ 10 of the Counterclaims and Defendant’s

  Affidavit dated August 23, 2023 at ¶ 2.

  6.       Disputed. The correct Exhibit for Credit Application is Exhibit “C,” and the Affidavit of

  Kathy Luna incorrectly identified it as Exhibit “B” in paragraph 8. ECF No. 50-1.

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  7.     Undisputed.

  8.     Undisputed.

  9.     Disputed. The correct Exhibit for Credit Application is Exhibit “C,” and the Affidavit of

  Kathy Luna incorrectly identified it as Exhibit “B” in paragraph 8. ECF No. 50-1. Defendant did

  not sign the Personal Guaranty to personally guarantee the wrongful delivery of the Mother’s

  Day sale. Defendant’s Affidavit dated August 23, 2023 at ¶¶ 4, 19, 20, 21, 22, and 23.

  10.    Disputed. NY Garden and Defendant made complaints. Defendant’s Affidavit dated

  August 23, 2023 at ¶ 20.

  11.    Disputed. Defendant’s Affidavit dated August 23, 2023 at ¶¶ 20 and 21.

  12.    Disputed. Affiant Kathy Luna did not state that Defendants did not file any claims by

  either email, fax or telephone within 24 hours of receiving the goods. ECF No. 50-1 and

  Defendant’s Affidavit dated August 23, 2023 at ¶ 20.

  13.    Disputed. Defendant’s Affidavit dated August 23, 2023 at ¶¶ 20 and 21.

  14.    Disputed. Plaintiff’s records are incorrect and, therefore, Exhibit D is also incorrect.

  Defendant’s Affidavit dated August 23, 2023 at ¶¶ 22 and 23.

  15.    Disputed. Defendant’s Affidavit dated August 23, 2023 at ¶¶ 9, 10, and 20.


                                         II. Additional Facts

  16.    Defendant Daniel Bae, a/k/a Dhan Paih (“Defendant”), is the president of

  Defendant New York Garden Flower Wholesale, Inc. (“NY Garden) (collectively

  “Defendants”). Defendant’s Affidavit dated August 23, 2023 at ¶ .

  17.    On or about September 26, 2019, when Defendant signed the Credit Application

  (Exhibit “C”), he reasonably believed that Plaintiff required to check Defendant’s
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  personal credit scores to approve the Credit Application. Defendant’s Affidavit dated

  August 23, 2023 at ¶ 4.

  17.    When Defendant signed the Credit Application, he was not aware of paragraph 5,

  which required his company to file a written claim and a phone call within 24 hours. Nor

  could he have understood due to his lack of English skills. Defendant’s Affidavit dated

  August 23, 2023 at ¶¶ 5 and 7.

  18.    To the best of Defendant’s knowledge, Kathy Luna was never on the phone with

  Defendant when Defendant made phone calls to make complaints. Defendant’s Affidavit

  dated August 23, 2023 at ¶ 6.

  19.    Paragraph 5 of the Credit Report has been waived by not requiring 24-hour notice

  by Plaintiff during the course of dealing. Defendant’s Affidavit dated August 23, 2023 at

  ¶¶ 6, 7, 8, 9. and 10.

  20.    Plaintiff breached the contract or implied covenant of good faith and fair dealing

  caused damages. ECF No. 42 at ¶¶ 16 and 17.

  21.    In alternative pleading, NY Garden seeks additional damages for loss of profit in

  the amount of $51,081 and loss of business reputation and goodwill as to its relationships

  with customer retailers. ECF No. 42 at ¶ 63.

  22.    The Plaintiff’s account stated as shown in Exhibit B is inaccurate. Defendant’s

  Affidavit dated August 23, 2023 at ¶¶ 11 and 22.

  23.    Mother’s Day Sales for May 8, 2022, is one of Defendant’s busiest flower sale

  days. Defendant’s Affidavit dated August 23, 2023 at ¶ 12.
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  24.   Plaintiff’s delay in delivery and damaged flowers caused havoc amid Mother’s

  Day sale.

                                            Respectfully submitted,

                                            Law Offices of Daniel D. Kim
                                            Attorneys for Defendants

                                              Daniel D. Kim
                                              By Daniel D. Kim

                                               JOSE A. BLANCO, P.A.
                                               Attorneys for Defendants

                                                  By: s/ Jose A. Blanco
                                                  Jose A. Blanco, Esq.
                                                  102 E. 49th St.,
                                                  Hialeah, FL 33013
                                                  (305) 349-3463


                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 23rd day of August 2023, a true and correct copy
  of the foregoing Statement was electronically filed with the Clerk of the Court using the
  CM/ECF system, and the Defendants’ Brief In Opposition, Affidavit In Opposition, and
  Declaration of Counsel In Opposition are separately being filed simultaneously in
  accordance with the Local Rules. I also certify that the foregoing document is being served
  this day on counsel of record, via Notice of Electronic Filing generated by CM/ECF to:
  Ryan M. Clancy, Esq. (ryan@business-esq.com), Anne Victoria Kotlarz, Esq.
  (Anne@business-esq.com), & Yamila Lorenzo, Esq. (yamila@business-esq.com)
  AINSWORTH + CLANCY, PLLC, Attorneys for Plaintiff.

                                s/ Jose A. Blanco
                                 ________________
                                Jose A. Blanco, Esq.




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